            Case 3:07-cv-01587-HU             Document 1          Filed 10/23/07     Page 1 of 6




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                               IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON
 LINDA LORRAINE WICKERHAM

                  Plaintiff,                               No'     LV '07 158 7 HU
                                                           COMPLAINT
       v.                                                  Civil Rights Action (42 U.S.C. 31983)
 CITY OF PORTLAND, PORTLAND POLICE
 BUREAU and                                                DEMAND FOR JURY TRIAL

 MATTHEW KOHNKE, individually and in his
 official capacity.


                  Defendants.

                                                       1

                                             INTRODUCTION

        Pursuant to 42 U.S.C. S1983, Plaintiff alleges the violation, under color of state law, of the right to

be free from unreasonable searches and seizures protected by the Fourth Amendment to the United States

Constitution and from conduct shocking to the conscience in violation of the Due Process clause of the

Fourteenth Amendment to the United States Constitution. Plaintiff further alleges an unconstitutional

custon~policy and practice and deliberate indifference that resulted in the violations of constitutional rights

above named.

Page 1 -         COMPLAINT
               Case 3:07-cv-01587-HU          Document 1         Filed 10/23/07       Page 2 of 6




                                                      2.

                                              JURISDICTION

        This court has jurisdiction over plaintiffs claims by virtue of 28 U.S.C. 55 1331, 1343, and 1367.

                                                      3.

                                                  PARTIES

        Linda Lorraine Wickerham ("Wickerham") is a resident of the State of Oregon. Matthew Kohnke

("Kohnke") is a Portland Police Officer. At all material times Kohnke was acting within the scope of his

employment with the City of Portland and the Portland Police Bureau. At all relevant times Kohnke was

acting under color of state law wearing Portland Police Bureau insignia and uniform. He is named in his

individual capacity. City of Portland ("Portland") is a municipality in Oregon responsible under state law

for the acts and omissions of its police officers. Portland Police Bureau ("PPB") is an employer and

municipal police agency responsible to train, supervise, and direct its individual officers.

                                                       4

                                                   FACTS

           Wickerham is an adult woman living in Portland Oregon. On or about January or February, 2006,

she was living as a homeless person at a makeshift campsite near SE Foster Road and 108"' Avenue in

Portland, Oregon. All relevant events occurred in the State of Oregon, County of Multnomah, and the City

of Portland.

                                                      5.

        On or about January or February, 2006 Kohnke went to the campsite and spoke with Wickerham.

He asked her if she had any weapons or drugs. She said that she did not. He asked her if he could search

her. She said he could. During the search he did not have a female officer present. During the search he



Page 2 -          COMPLArNT
              Case 3:07-cv-01587-HU            Document 1         Filed 10/23/07      Page 3 of 6




intentionally and unreasonably:

         a.      Ordered her to lift her shirt and bra exposing her breasts to him.

         b.      Ordered her to pull her pants and underwear out at the waistband exposing her genitals to

                 him.

         c.      Reached into her pants touching her genitals with his hand.

         d.      Sexually harassed her by ordering her to submit and subjecting her to the previously listed

                 actions.

                                                        6.

         Following the above he wrote her no citations and did not arrest her. He never indicated that she

had committed any type of crime. She committed no crime.

                                                        7.

         Wickerham suffered mental and emotional anguish, fear of this police officer, and fear of police

officers in general as a direct and foreseeable result of this contact.

         Plaintiff alleges as her FIRST CLAIM FOR RELIEF (9 1983 -- Fourth Amendment):

                                                        8.

         Wickerham re alleges sections 1-8 and incorporates them in her first claim for relief.

                                                        9.

         Kohnke violated Wickerham's right to be free from unreasonable searches and seizures, as

guaranteed by the Fourth Amendment to the United States Constitution.

                                                        10

         Wickerham is entitled to non-economic damages against Kohnke in an amount to be determined at

trial.



Page 3   -       COMPLAINT
                Case 3:07-cv-01587-HU           Document 1        Filed 10/23/07       Page 4 of 6




                                                        11

            The described conduct of Kohnke was reckless and wanton in violation of Wickerham's well

established constitutional rights entitling her to an award of punitive damages in amounts to be determined

at trial.

                                                        12

            Wickerham should be awarded reasonable attorney fees, costs and expenses incurred herein

pursuant to 42 U.S.C. $1988

            Plaintiff alleges as her SECOND CLAIM FOR RELIEF ( 5 1983 - Fourteenth Amendment):

                                                        13

            Wickerham re alleges sections 1-8 and incorporates them in her second claim for relief.

                                                        14

            Kohnke violated Wickerham's right to due process, as guaranteed by the Fourteenth Amendment

to the United States Constitution by engaging in conduct that "shocks the conscience" and "offends the

cannons of decency and fairness".

                                                        15

            Wickerham is entitled to non-economic damages against Kohnke in an amount to be determined at

trial.

                                                        16.

            The described conduct of Kohnke was reckless and wanton in violation of Wickerham's well

established constitutional rights entitling her to an award of punitive damages in amounts to be determined

at trial.




Page 4 -            COMPLAINT
             Case 3:07-cv-01587-HU           Document 1        Filed 10/23/07       Page 5 of 6




                                                     17

        Wickerham should be awarded reasonable attorney fees, costs and expenses incurred herein

pursuant to 42 U.S.C. §I988

        Plaintiff alleges as her THIRD CLAIM FOR RELIEF ($1983 - custom, policy, or practice):

                                                     18

        Wickerham re alleges sections 1-8 and incorporates them in her third claim for relief.

                                                     19

        PPB and Portland had a custom, policy or practice of allowing officers to conduct such

unconstitutional searches in a manner that directly and foreseeably caused the injuries previously

mentioned.

                                                     20

        Wickerham is entitled to non-economic damages against PPB and Portland in an amount to be

determined at trial.

                                                     21

        Wickerham should be awarded reasonable attorney fees, costs and expenses incurred herein

pursuant to 42 U.S.C. 91988

        Plaintiff alleges as her FOURTH CLAIM FOR RELIEF ( 5 1983 deliberate indifference):
                                                                         -




                                                     22

        Wickerham re alleges sections 1-8 and incorporates them in her fourth claim for relief.

                                                     23

        PPB and Portland were deliberately indifferent in allowing Kohnke to continue as a police officer

with the knowledge that there had been multiple complaints of sexual harassment or misconduct against



Page 5 -         COMPLAINT
             Case 3:07-cv-01587-HU           Document 1        Filed 10/23/07        Page 6 of 6




him. This deliberate indifference was the direct and foreseeable cause of the injuries previously alleged.

Wickerham is entitled to non-economic damages against PPB in an amount to be determined at trial

                                                      24

        Wickerham should be awarded reasonable attorney fees, costs and expenses incurred herein

pursuant to42 U.S.C. S1988.

        WHEREFORE, plaintiff prays for relief from the court as follows:

        1.      Assume jurisdiction in this matter over plaintiffs claims and grant a jury trial for all issues

                so triable.

        2.      Award plaintiff non-economic damages against defendants in amounts to be determined at

                trial and in accordance with the allegations set forth above.

        3.      Award punitive damages against Defendant Kohnke in amounts to be determined at trial.

        4.      Award plaintiff reasonable attorney fees, litigation expenses and costs against defendants

                in accordance with the allegations as set forth above.

        5.      Grant such other relief as may be just and proper.


        DATED this    a       day of October, 2007.


                                          ENGLE & GILES. P.C.




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                                          Of Attorneys for Plaintiff

PLAINTIFF HEREBY DEMANDS A JURY TRIAL



Page 6 -        COMPLAINT
